
TAM Medical Supply Corp., as Assignee of JOEL JACQUEZ, Appellant,
againstNational Liability &amp; Fire Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Carmen R. Velasquez, J.), entered March 4, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.
For the reasons stated in Tam Med. Supply Corp., as Assignee of Melisa Abdoul v National Liability &amp; Fire Ins. Co. (____ Misc 3d _____, 2016 NY Slip Op ______ [appeal No. 2014-635 Q C], decided herewith), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: October 13, 2016










